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uNiTED sTATEs oF AMERch, * CLERK. U-S. DiSTRiCTGOiBi
W/D OF fit MEM°HS
Plaintirf, *
vs. * Crimina| No. 03-20468-Ma
TERRY eARNER, *
BLuE LiGHT sTuDlo, iNC., *

Defendants.

 

PRELIM|NARY ORDER OF FORFE|TURE

 

|n indictment Number 03-20468-Ma, the United States sought forfeiture of specific
property of defendants, Terry Garner and B|ue Light Studio, |nc., pursuant to 18 U.S.C. §
982. On January 10, 2005, a jury verdict of guilty was entered as to Counts 1 through 4,
8 through 16, 19 through 46, and a special verdict of guilty to the forfeiture in Count 52 of
the indictment
Accordingly, it is ORDERED:

1. Based upon the jury’s guilty verdict as to Counts 1 through 4, 8 through 16,
19 through 46, and a special verdict of guilty to the forfeiture in Count 52 of the indictment
Number 03-20468-Ma, the United States is authorized to seize the following property
belonging to defendants Terry Garner and B|ue Light Studio, |nc., and his interest in it is
hereby forfeited to the United States for disposition in accordance with the law, subject to

the provisions of 21 U.S.C. §853(n) and Rule 32(d)(2) of the Federai Ruies of Crimina|

Thls document entered on the docket she? in c§mp!!ance
with Fi\iie 55 andlor 321bi FRCrP on

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Procedure:

Persona| property as follows:

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4)

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11)
12)
13)
14)

15)

CO|V|PAQ PRESARIO CPU lV|ode| 7588,
Serial Number 2D01DCW3K1FJ;

FARGO PRO |D CARD PR|NTER Serial
Number 90140140;

KDS FLAT SCREEN 15" COLOR lVlONlTOR
Serial Number 1554BBB19007715;

HEWLETT PACKARD PR|NTER |V|Odel
CP1160 Serial Number IV|Y1981V1SQ;

SONY D|G|TAL MAV|CA CA|VIERA Serial
Number 27570‘,

SON‘( D|G|TAL MAV|CA CAMERA Serial
Number 1029873;

POS.COM S|GNATURE PAD lVlodel PW
1500 with Stylus Serial Number
150060044001 100215;

POLARO|D |D LAlVl|NATOR |Vlodel 0927
Serial Number J7A;

Blank identification Card Stock;
Laminate Covers;

identification App|ication Forms;
Ho|ograms;

Razors;

Compact Disks;

Floppy Disks.

All in violation of Titie 18, United States Code, Section 2253.

2

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2. The forfeited property is to be held by the United States Secret Service in its
secure custody, or, as may be necessary, the Attorney Genera| may appoint a substitute
custodianl

3. Pursuant to 21 U.S.C. §853(n)(1), the United States Secret Service shall
publish at least once a week for three successive weeks in a newspaper of general
circulation in She|by County, Tennessee, notice of this order, notice of the United States’
intent to dispose of the property in such manner as the Attorney Generai or his delegate
may direct, and notice that any person, otherthan the defendant, having or claiming a legaf
interest in any of the above-listed forfeited property must file a petition with the court within
thirty (30) days of the final publication of notice or of receipt of actual notice, whichever is
earlier. This notice shall state that the petition shall be for a hearing to adjudicate the
validity of the petitioner’s alleged interest in the property, shall be signed by the petitioner
under penalty of perjury, and shall set forth the nature and extent of the petitioner’s right,
title or interest in each of the forfeited properties and any additional facts supporting the
petitioner’s claim and the relief sought. The United States Secret Service or his delegate
may use the attached Legal Notice.

The United States may also, to the extent practicab|e, provide direct written notice
to any person known to have alleged an interest in property that is the subject of this
Preliminary Orderof Forfeiture, as a substitute for published notice as to those persons so
noHHed.

4. Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of Forfeiture
shall become final as to the defendant at the time of sentencing and shall be made part of
the sentence and included in the judgment

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5. if no third party files a timely claim, this Order shall become the Final Order
of Forfeiture, as provided by Fed. R. Crim. P. 32.2(0)(2). l

6. The United States shall have clear title to the Subject Property following the
Court's disposition of all third-party interests, or, if nonel following the expiration of the
period provided in 21 U.S.C. §853(n)(2), which is incorporated by 18U.S.C. §982(b) and
28 U.S.C. §2461 (c), for the filing of third party petitions.

7. The Court shall retain jurisdiction to enforce this Order, and to amend it as

necessary, pursuant to Fed. R. Crim. P. 32.2(e).
lT is so oRDERED this '*-{(2` day of 4 °;l °"‘F“" ,2005.

J¢</M/L__

SAMUEL H. lVlAYS, JR.
United States District Judge

 

PRESENTED BY:

TERRELL L. HARR|S

United States Attorney /
By: /,/ ppg
C

lsToPi-iEi`z' E'. coTTEN
ssistant United States Attorney

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|N THE UN|TED STATES DISTR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
WESTERN D|V|SlON

 

 

UN|TED STATES OF AMER|CA, *

P|aintiff, *
vs. _ * Criminai No. 03-20468-Ma
TERRY GARNER, *
BLUE LlGHT STUD|O, |NC. *

Defendants. *

LEGAL NOT|CE
Take notice that on , the United States District Court for the

Western District of Tennessee, Western Division, entered a Preliminary Orderof Forfeitu re
ordering that all right, title and interest of the defendants Terry Garner and B|ue Light
Studio, lnc. in the following property be forfeited to the United States to be disposed of in
accordance with |aw:

Personai property as foilows:

1) COMPAQ PRESAR!O CPU Nlodei 7588,
Serial Number2D01DCW3K1FJ;

2) FARGO PRO iD CARD PRlNTER Serial
Number 90140140;

3) KDS FLAT SCREEN 15" COLOR MON|TOR
Serial Number 1554BBB19007715;

4) HEWLETT PACKARD PR|NTER Mode|
CP1160 Serial Number |V|Y1981V1SQ;

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13)
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15)

SONY D|G|TAL MAV|CA CAiVlERA Serial
Number 27570;

SONY D|G|TAL MAV|CA CAMERA Seriai
Number 1029873;

POS.COM SlGNATURE PAD lVlodel PW
1500 with Stylus Seriai Number
150060044001 10021 5;

POLAROiD iD LAN||NATOR iViodei 0927
Serial Number J7A;

B|ank identification Card Stock;
Laminate Covers;

identification Application Forms;
Holograms;

Razors;

Compact Disks;

Floppy Disks.

Ail in violation of Titie 18, United States Code, Section 2253.

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The United States intends to dispose of this property in such matter as the Attorney

Genera| or his delegate may direct. Any person, other than the defendant, having or

claiming a legal interest in the above-listed forfeited property must file a petition with the

Court within thirty (30) days of the final publication of this notice or of receipt of actual

notice, whichever is earlier. The petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under

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penalty of perjury, and shall set forth the nature and extent of the petitioner’s right, titie, or
interest in each of the forfeited properties and any additional facts supporting the

petitioner’s claim and relief sought.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 92 in
ease 2:03-CR-20468 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

Traey Lynn Berry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Erie Seott Hall
WAGERMAN LAW FIRM
200 Jefferson Ave.

Ste. 13 13

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

